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                                                November 4, 2015



    The Honorable Vernon S. Broderick
    United States District Judge
    Thurgood Marshall United States Courthouse
    40 Foley Square
    New York, NY 10007

    In Re: Application of Hornbeam, Corp., No. 14 Misc. 424, Part 1, S.D.N.Y (VSB)

    Dear Judge Broderick:

           I write in response to Mr. Power’s letter received at 4:34 p.m. by Pacer requesting an urgent
    conference with the Court. I will respond to the letter received at 8:20 p.m. by email which I have
    only reviewed this morning later today. Counsel for Mr. Symeou is available at the Court’s
    convenience – although there is no urgency -- for an in person conference Thursday or Friday or
    generally next week. We also have important matters to raise. As discussed below, the justification
    that Hornbeam gave the Court in support of its § 1782 application (which Symeou contests) has
    been dwarfed by the deluge of highly sensitive and wholly irrelevant wire transfers captured by
    Hornbeam’s subpoenas. These productions are very damaging to persons connected and
    unconnected to this action, and all discovery should be stayed pending further judicial inquiry.

            First, as advised in our Rule 60 motion, review of the initial Wire Records production
    revealed that Hornbeam Corp. received over 1,300 records containing confidential commercial and
    personal information of the Related Entities and Related Persons which are unrelated to the Warren
    Steel Holdings, LLC/Halliwel Corp. dispute (the “WSH Dispute”). In addition, Hornbeam received
    over 9,000 records containing confidential commercial and personal information of persons
    unrelated to the litigants. The November 3, 2015 production (which we only had hours to review)
    reveals this problem is growing even worse, containing at least 2,000 additional wires of Related
    Entities and Related Persons unrelated to the WSH Dispute.

            Second, Hornbeam seeks to exacerbate the problem by disseminating the records in other
    jurisdictions. Dissemination or use of the Wire Records should not be permitted until proceedings
    in this District are complete. Symeou’s Rule 60 motion is pending. Rather than seeking to expedite
    its consideration, Hornbeam asked until November 10, 2015 to file its opposition. Symeou is then
    entitled to file a reply. If the Court were to grant the Rule 60 motion, Hornbeam’s request is moot.



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    Even if the Court were to deny the Rule 60 motion, Symeou would move for a stay pending appeal.
    The Wire Records should not be disseminated or used until the Court considers these motions, and,
    further, if the Court were not to stay its order, the Second Circuit should be given the opportunity to
    decide whether dissemination or use of this sensitive material should be stayed pending appeal.
    Hornbeam’s effort to disrupt this orderly process makes it even more difficult to remedy the
    situation if the discovery order is reversed.

           Third, Hornbeam discloses no “emergency” which requires immediate use of these records.
    Hornbeam’s opposition to the motion to stay pending appeal in Alabama by Symeou and Halliwel is
    due today at noon. The record is closed. The Wire Records are irrelevant to the stay motion.

            Fourth, Hornbeam has continued to engage in ex parte communications with subpoenaed
    parties. Hornbeam did this with Deutsche Bank Trust Company Americas (“DB”) concerning the
    §1782 subpoenas and the DB discovery - despite the Court’s ruling that it should not engage in
    §1782 discovery ex parte. Symeou first learned on November 3 that Hornbeam negotiated a
    protective agreement with DB. This agreement, dated October 30, 2015, was only produced on
    November 3. Hornbeam has refused to produce almost all of its communications with the New
    York banks, despite our request. As a result, we have been in the dark regarding Hornbeam’s
    dealings with the banks – we literally had no knowledge there would be production until receiving
    notice at 3:00 p.m. on November 3. Had we been notified that DB intended to produce confidential
    wire records, we would have sought an immediate protective order prohibiting its production until
    the Rule 60(b) Motion is decided. The Court should order Hornbeam to produce its
    communications with the banks to the Court and Symeou immediately so that there is least some
    transparency in a discovery process which Hornbeam has conducted secretly to date.

           Fifth, Symeou opposes any filing of Wire Records unrelated to Warren Steel and Halliwel
    in any manner with this or any other Court. We would be pleased to discuss this at an in-person
    conference in a closed courtroom or chambers. The DB records reveal substantial, highly
    confidential transactions and bank accounts irrelevant to the WSH Dispute.

            Sixth, Symeou opposes service of any further subpoenas until the Court resolves the Rule
    60(b) motion, given that the Court has not vacated its August 4, 2015 Order. The current subpoenas
    for service providers similarly seek confidential information unrelated to the WSH Dispute. This
    discovery continues the pattern of (intentionally) overbroad and intrusive requests.

           Finally, although we only received production of Wire Records a few weeks ago (which
    Hornbeam had for months), we have already informed the Court that over 9,000 records containing
    confidential commercial and personal information of persons unrelated to the litigants were
    produced, including records of a regulated investment fund. Although Hornbeam knew this, it was
    never disclosed to the Court. We wish to address how the unrelated persons and banks, as well as,
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    responsible government agencies, should be notified of what occurred so that they can protect their
    interests and the records should be destroyed.

                                                Respectfully,
                                                --- s ----
                                                Bruce S. Marks
                                         For:   Marks & Sokolov, LLC



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